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                             UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO

    MARIA FERNANDA ELOSU and
    ROBERT LOUISE BRACE, Individuals,                     Case No. 1:19-cv-00267-DCN

           Plaintiffs,                                    MEMORANDUM DECISION AND
                                                          ORDER
    v.

    MIDDLEFORK RANCH
    INCORPORATED, an Idaho
    Corporation,

           Defendants.

                                        I. INTRODUCTION
         In preparation for trial, MFR has designated three witnesses—Shane Hartgrove,

Greg Gamez, and Regee Rauch—as “unavailable” pursuant to Federal Rule of Civil

Procedure 32(a)(4). As such, MFR intends to offer their depositions in lieu of live

testimony. Dkt. 71, at 2–3.

         Plaintiffs do not object to MFR using Shane Hartgrove’s deposition, but they do

object to MFR using the depositions for Gamez and Rauch asserting they are not truly

“unavailable” under Rules 804(a) and 32(a)(4). Dkts. 64, at 14; 83-2, at 2; 83-3, at 2.1 The

Court has not held a hearing or heard argument on this specific issue. It has MFR’s Witness

List indicating its intention to introduce the depositions and Plaintiffs’ objection. The Court

intends to take this matter up at the final pre-trial conference on July 11, 2022, at 11:30am.

Assuming MFR makes a proper showing—and the Court approves of the request—the

1
 In one instance, Plaintiffs cite to Rule 34(a)(4). No such rule exists. The Court assumes Plaintiffs mean
Rule 32(a)(4).


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following rulings shall apply. If the Court denies the request, the Court and counsel will

discuss the best way to proceed.

                                     II. ANALYSIS

      Below are the Court’s rulings as to the specific objections. As it relates to

Hartgrove’s testimony: for simplicity, the Court has not included designations where no

objection was lodged.


                                   SHANE HARTGROVE

   MFR          Plaintiff      Plaintiff Objection   Defendant Objection     COURT’S
 Designation    Counter                                                      RULING
               Designation
 11:20-23                    401; 403 (insurance) (See 44:13-45:7;          Sustained
                                                  57:1-4; 70:20 in          as to both.
                                                  which Plaintiff           Insurance
                                                  designates testimony      cannot be
                                                  with same ins. info)      discussed.
 12:2-6                      401; 403 (insurance)                           Sustained.
                                                                            Insurance
                                                                            cannot be
                                                                            discussed.
 12:11-13:4                  401; 403 (insurance)                           Sustained.
                                                                            Insurance
                                                                            cannot be
                                                                            discussed.
 13:9-25                     401; 403                                       Sustained.
                             (insurance); 801(c)                            Insurance
                                                                            cannot be
                                                                            discussed.
 30:22-25                    Speculation, outside                           Overruled.
                             expertise, hearsay
 48:21-49:8                  No personal                                    Overruled.
                             knowledge of Brace
                             state of mind;
                             relevance



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49:16-50:3                  No personal                                     Overruled.
                            knowledge of Brace
                            state of mind;
                            relevance
50:10-51:6                  No personal                                     Overruled.
                            knowledge of Brace
                            state of mind;
                            relevance
57:1-4                      401; 403 (insurance)                            57:1-2 can
                                                                            come in.
                                                                            57:3-4 are
                                                                            out.
68:16-69:6                  Nonresponsive                                   Overruled.
76:11-78:10                 To 77:25-78:10,                                 Cannot
                            Outside the scope of                            rule at this
                            disclosed testimony,                            time.
                            which was that he
                            had no opinion.
81:19-25                    401, irrelevant                                 Sustained.
              20:7-19                              Speculation; no          Sustained.
                                                   personal knowledge.      Speculation
                                                   See 20:20-24             and lack of
                                                                            foundation.
              23:5-11                              No personal              Overruled.
                                                   knowledge;
                                                   speculation re
                                                   Rosen’s thoughts
                                                   and feelings
              63:14-65:8                           64:18-22: misstates      Overruled.
                                                   testimony. See
                                                   63:14-16
              73:7-21                              73:7-74:19: lack of      Cannot
                                                   foundation; assumes      rule at this
                                                   facts not in evidence;   time.
                                                   incomplete
                                                   hypothetical; calls
                                                   for speculation.

                                 GREGG GAMEZ

    MFR            Plaintiff Counter      Plaintiff         Defendant       COURT’S
  Designation        Designation          Objection         Objection       RULING


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ALL (Video):                           Exhibit 10:                      Cannot
5:16-46:13                             exhibit marked                   rule at this
                                       for identification               time.
                                       in deposition, but
                                       no foundation for
                                       admissibility laid
                                       (see pp. 14-15)
                                       Exhibit 11:                      Cannot
                                       exhibit marked                   rule at this
                                       for identification               time.
                                       in deposition, but
                                       no foundation for
                                       admissibility laid
                                       (see pp. 16)
                                       26:9-11. No                      The fact
                                       question asked.                  that he
                                       No personal                      took the
                                       knowledge of                     video can
                                       when “Dave”                      come in.
                                       took video or                    Remainder
                                       what it depicts                  is out.
                                       27:1-13. No                      Overruled.
                                       personal
                                       knowledge,
                                       speculating as to
                                       sequence of
                                       photos (see
                                       26:14-18)

                                 REGGIE RAUCH

   MFR          Plaintiff      Plaintiff Objection          Defendant   COURT’S
 Designation    Counter                                     Objection   RULING
               Designation
ALL                          Exhibit 8: exhibit                         Cannot
(Video):                     marked for                                 rule at this
5:17-44:24                   identification in                          time.
                             deposition, but no
                             foundation for
                             admissibility laid (see
                             pp. 18)




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                        20:8-15: speculation,                       Sustained.
                        calls for inadmissible
                        lay opinion
                        Exhibits 4-5: exhibits                      Cannot
                        marked for                                  rule at this
                        identification in                           time.
                        deposition, but no
                        foundation for
                        admissibility laid (see
                        pp. 22)
                        24:1-13: speculation,                       Sustained.
                        calls for inadmissible
                        lay opinion. No
                        personal knowledge of
                        allegation, not
                        qualified to offer
                        opinion on fire cause
                        or origin
                        25:1-4: no personal                         Overruled.
                        knowledge of what
                        Mr. Koster tried or did
                        not try to do.
                                                  31:4: Objection   Sustained.
                                                  Withdrawn
                                                  37:17-23:         Overruled.
                                                  Misstates
                                                  testimony


                                          DATED: July 8, 2022


                                          _________________________
                                          David C. Nye
                                          Chief U.S. District Court Judge




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